     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 1 of 7


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 8                               UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
     THE DELTA SMELT CASES                           CASE NO. 1:09-cv-407-LJO-DLB
11                                                            1:09-cv-422-LJO-DLB
     SAN LUIS & DELTA-MENDOTA                                 1:09-cv-631-LJO-DLB
12   WATER AUTHORITY, et al. v.                               1:09-cv-892-LJO-GSA
     SALAZAR, et al. (Case No. 1:09-cv-407)          PARTIALLY CONSOLIDATED WITH:
13
     STATE WATER CONTRACTORS v.                               1:09-cv-480-LJO-GSA
14   SALAZAR, et al. (Case No. 1:09-cv-422)                   1:09-cv-1201-LJO-DLB

15   COALITION FOR A SUSTAINABLE
     DELTA, et al. v. UNITED STATES FISH
16   AND WILDLIFE SERVICE, et al.                    SECOND JOINT STIPULATION AND
     (Case No. 1:09-cv-480)                          ORDER AMENDING SCHEDULE FOR
17                                                   TRANSMITTAL OF DRAFT SMELT
     METROPOLITAN WATER DISTRICT v.                  BIOLOGICAL OPINION
18   UNITED STATES FISH & WILDLIFE
     SERVICE, et al. (Case No. 1:09-cv-631)
19
     STEWART & JASPER ORCHARDS,                      Judge:         Honorable Lawrence J. O'Neill
20   et al. v. UNITED STATES FISH AND
     WILDLIFE SERVICE, et al.
21   (Case No. 1:09-cv-892)
22   FAMILY FARM ALLIANCE v.
     SALAZAR, et al. (Case No. 09-cv-1201)
23

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          SECOND JOINT STIPULATION AND ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 2 of 7


 1
                                                RECITALS
 2
            1.      On May 19, 2011, this Court entered its Amended Judgment in these Delta Smelt
 3
     Consolidated Cases requiring the United States Fish and Wildlife Service ("FWS") to "transmit to
 4
     [the Bureau of] Reclamation by October 1, 2011 a draft delta smelt Biological Opinion consistent
 5
     with the requirements of law." (Amended Judgment, Doc. 884 at 3:18-19.)
 6
            2.      On September 30, 2011, this Court vacated the October 1, 2011 deadline in the
 7
     Amended Judgment (Doc. 884) for transmittal of the draft delta smelt Biological Opinion (“draft
 8
     BiOp”). (Doc. 1061.) The Court ordered instead that by October 31, 2011 the parties file a
 9
     written report stating whether the parties have jointly agreed upon a revised completion date for
10
     the draft BiOp. The Court further ordered that failing such agreement, the draft BiOp was to be
11
     transmitted by November 11, 2011.
12
            3.      Since the Court's order, a number of the parties have engaged in discussions
13
     regarding a restructuring of the consultation process and a new deadline for the draft BiOp, but
14
     have not yet reached agreement. However, these parties would like to continue these discussions,
15
     and agree they need more time beyond October 31, 2011 to complete discussions and potentially
16
     reach agreement.
17
            Good cause exists for the granting of the below requested schedule change for transmittal
18
     of the draft BiOp, and the parties respectfully request that the dates set by this Court be modified
19
     as shown below.
20
                                              STIPULATION
21
            Plaintiffs San Luis & Delta-Mendota Water Authority, Westlands Water District, State
22
     Water Contractors, Metropolitan Water District of Southern California, Coalition for a
23
     Sustainable Delta, Kern County Water Agency, Stewart & Jasper Orchards, Arroyo Farms, LLC,
24
     King Pistachio Grove, and Family Farm Alliance ("Plaintiffs"), Plaintiff-Intervenor California
25
     Department of Water Resources ("DWR"), Federal Defendants, and Defendant-Intervenors
26
     Natural Resources Defense Council and The Bay Institute by and through their respective
27
     counsel, hereby stipulate and agree as follows:
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     SECOND JOINT STIPULATION AND [PROPOSED] ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 3 of 7


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            1.      The October 31, 2011 and November 11, 2011 deadlines in the Court's previous
 3
     order (Doc. 1061) should be hereby vacated to allow time for further discussions between now
 4
     and December 2, 2011.
 5
            2.      By December 2, 2011, the parties shall file with the Court a written report,
 6
     preferably a joint report, stating whether the parties have jointly agreed to a remand schedule. .
 7
            3.      If there is not agreement among all parties, then the draft BiOp shall be transmitted
 8
     no later than December 14, 2011.
 9

10

11
     SO STIPULATED.
12

13
     Dated: October 31, 2011                       H. CRAIG MANSON
14                                                 Westlands Water District
                                                   DIEPENBROCK ELKIN, LLP
15                                                 KRONICK, MOSKOVITZ, TIEDEMANN &
                                                   GIRARD
16                                                 A Professional Corporation

17

18                                                 By      /s/ Daniel J. O'Hanlon
                                                        DANIEL J. O’HANLON
19                                                      EILEEN M. DIEPENBROCK
                                                        Attorneys for Plaintiffs
20                                                      SAN LUIS & DELTA-MENDOTA WATER
                                                        AUTHORITY and WESTLANDS WATER
21                                                      DISTRICT

22

23   Dated: October 31, 2011                     BROWNSTEIN HYATT FARBER SCHRECK LLP

24

25                                               By:      /s/ Steve O. Sims
                                                        STEVE O. SIMS
26                                                      MICHELLE C. KALES
                                                        Attorneys for Plaintiff
27                                                      WESTLANDS WATER DISTRICT
28
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     SECOND JOINT STIPULATION AND [PROPOSED] ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 4 of 7


 1

 2   Dated: October 31, 2011                    BEST BEST & KRIEGER LLP

 3

 4                                              By:      lsl Steven M. Anderson
                                                       GREGORY K. WILKINSON
 5                                                     STEVEN M. ANDERSON
                                                       PAETER E. GARCIA
 6                                                     MELISSA R. CUSHMAN
                                                       Attorneys for Plaintiff
 7                                                     STATE WATER CONTRACTORS
 8   Dated: October 31, 2011                    NOSSAMAN LLP
 9

10                                              By:     lsl Paul S. Weiland        _______
                                                       ROBERT D. THORNTON
11                                                     PAUL S. WEILAND
                                                       AUDREY HUANG
12                                                     Attorneys for Plaintiffs
13                                                     COALITION FOR A SUSTAINABLE DELTA
                                                       and KERN COUNTY WATER AGENCY
14

15
     Dated: October 31, 2011                    MORRISON & FOERSTER LLP
16

17
                                                By: _/s/ William M. Sloan_____________________
18                                                  CHRISTOPHER J. CARR
                                                    WILLIAM M. SLOAN
19                                                  Attorneys for Plaintiff
                                                    THE METROPOLITAN WATER
20                                                  DISTRICT OF SOUTHERN CALIFORNIA
21

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     SECOND JOINT STIPULATION AND [PROPOSED] ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 5 of 7


 1   Dated: October 31, 2011                    PACIFIC LEGAL FOUNDATION

 2

 3                                              By: _/s/ Brandon M. Middleton________________
                                                    M. REED HOPPER
 4                                                  DAMIEN M. SCHIFF
                                                    BRANDON M. MIDDLETON
 5                                                  Attorneys for Plaintiffs
 6                                                  STEWART & JASPER ORCHARDS;
                                                    ARROYO FARMS, LLC; and KING
 7                                                  PISTACHIO GROVE

 8

 9   Dated: October 31, 2011                    THE BRENDA DAVIS LAW GROUP
10

11                                              By: _/s/ Brenda W. Davis_____________________
                                                    BRENDA W. DAVIS
12                                                  LESLIE R. WAGLEY
                                                    Attorneys For Plaintiff
13                                                  FAMILY FARM ALLIANCE
14   Dated: October 31, 2011                    KAMALA D. HARRIS, ATTORNEY GENERAL
                                                OF THE STATE OF CALIFORNIA
15

16                                              By: _/s/ Clifford T. Lee______________________
                                                    CLIFFORD T. LEE
17                                                  CECILIA L. DENNIS
                                                    MICHAEL M. EDSON
18                                                  ALLISON GOLDSMITH
                                                    Deputies Attorney General
19                                                  Attorneys for Plaintiff-In-Intervention
                                                    CALIFORNIA DEPARTMENT OF WATER
20                                                  RESOURCES
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     SECOND JOINT STIPULATION AND [PROPOSED] ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
     Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 6 of 7


 1   Dated: October 31, 2011                    IGNACIA S. MORENO, ASSISTANT ATTORNEY
                                                GENERAL
 2                                              United States Department of Justice, Environmental
                                                & Natural Resources Division
 3                                              SETH M. BARSKY, CHIEF

 4
                                                By: _/s/ S. Jay Govindan_____________________
 5                                                  S. JAY GOVINDAN
                                                    Wildlife & Marine Resources Section
 6                                                  Attorneys for FEDERAL DEFENDANTS

 7

 8   Dated: October 31, 2011                    NATURAL RESOURCES DEFENSE COUNCIL

 9
                                                By: _/s/ Katherine Poole____________________
10                                                  KATHERINE POOLE
                                                    DOUG OBEGI
11                                                  Attorneys for Defendant-Intervenor NATURAL
12                                                  RESOURCES DEFENSE COUNCIL

13

14   Dated: October 31, 2011                    EARTH JUSTICE
15                                              By: _/s/ Trent W. ___________________________
                                                    TRENT W. ORR
16
                                                    GEORGE M. TORGUN
17                                                  Attorneys for Defendant-Intervenors
                                                    NATURAL RESOURCES DEFENSE
18                                                  COUNCIL; THE BAY INSTITUTE

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     SECOND JOINT STIPULATION AND [PROPOSED] ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
           Case 1:09-cv-01201-LJO-JLT Document 85 Filed 11/02/11 Page 7 of 7


 1
                                                                    ORDER
 2

 3                             Based on the stipulation of the above parties, the Court hereby vacates the previously

 4   ordered October 31, 2011 deadline for submission of a written status report, and the alternative

 5   November 11, 2011 deadline for transmittal of the draft delta smelt Biological Opinion ("draft

 6   BiOp"). By December 2, 2011, the parties shall file with the Court a written report, preferably a

 7   joint report, stating whether the parties have jointly agreed upon the three items listed above in

 8   the stipulation. If there is not agreement among all parties on these items, then the draft BiOp

 9   shall be transmitted no later than December 14, 2011.

10

11   IT IS SO ORDERED.
12
                            Dated:   November 1, 2011                           /s/ Lawrence J. O’Neill
13   DEAC_Sig nature-END:
                                                                             UNITED STATES DISTRICT JUDGE

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                             SECOND JOINT STIPULATION AND ORDER AMENDING SCHEDULE FOR TRANSMITTAL OF DRAFT SMELT BIOP
